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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

DAVID DYKEHOUSE, KRISTINA
BOSKOVICH, and ELIZABETH
HAMBLIN, on behalf of themselves and
all others similarly situated,

                       Plaintiff,      Case No. 1:18-CV-01225-RJJ-PJG
vs.
                                       Hon. Robert J. Jonker
THE 3M COMPANY, a Delaware
Corporation, GEORGIA-PACIFIC LLC, a
Delaware Corporation,
                      Defendants.



      MEMORANDUM OF LAW IN SUPPORT OF GEORGIA-PACIFIC’S
            MOTION TO DISMISS UNDER RULE 12(b)(6)
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                                          INTRODUCTION

         Plaintiffs try to force square pegs into round holes. In their Complaint, Plaintiffs allege

that per- and polyfluoroalkyl substances (PFAS) in industrial waste leached into their drinking

water. They claim a corporate predecessor of defendant Georgia-Pacific LLC (“Georgia-

Pacific”) generated this waste making paper products at a mill in Parchment and disposed of that

waste in an adjacent landfill it owned and operated. Plaintiffs further allege that Georgia-Pacific

negligently closed that landfill after the mill shut down. Even if those allegations are accepted as

true, five counts of Plaintiffs’ nine-count Complaint should be dismissed, because the legal

theories on which they are based do not apply.1

         Plaintiffs first stretch to assert intentional torts of trespass and battery. Those claims fail,

because Plaintiffs cannot allege a physical invasion of land by a tangible object necessary for a

trespass claim, and they cannot allege either the “touching” or the intent necessary for a battery

claim.

         Plaintiffs’ unjust enrichment claim is similarly inapplicable. Plaintiffs have not stated a

claim under this implied contract theory, because they do not allege any interaction with

Georgia-Pacific, let alone that they conferred a benefit upon Georgia-Pacific.

         Plaintiffs’ product liability claims, premised on both design defect and failure to warn

theories, fare no better. Plaintiffs do not allege that the paper products and food packaging

James River produced injured them. To the extent Plaintiffs allege injury from any product, 3M

(not Georgia-Pacific (or James River)) manufactured it. At most, Plaintiffs allege injury from a

         1
         The allegation that a predecessor of Georgia-Pacific operated the mill in Parchment is
inaccurate. As Georgia-Pacific clarifies in its accompanying answer, the business entity that
operated the Parchment mill until 1995 was James River Paper Company, Inc. (“James River”),
which later became Georgia-Pacific Consumer Products LP. That company is different from the
named defendant in this lawsuit, Georgia-Pacific LLC. But this inaccuracy is immaterial to this
motion.


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byproduct of Georgia-Pacific’s manufacturing process, but Michigan law does not recognize

such “byproduct liability” as a species of product liability.

       Finally, Plaintiffs seek relief unavailable under Michigan law, including medical

monitoring, attorney fees, and a declaration that the Defendants acted in an “unconstitutional”

manner (even though the Complaint alleges no constitutional violations and the Defendants are

not state actors). The Court should dismiss these requests for relief.

       In sum, the Court should dismiss Counts III, IV, VII, VIII, and IX of Plaintiffs’

Complaint as well as paragraphs b, f, and j of their Relief Requested.

                                           ARGUMENT

I.     Plaintiffs’ Trespass Claim Fails, Because They Have Not Alleged a Cognizable
       Physical Intrusion on Their Properties.

       The Court should dismiss Plaintiffs’ trespass claim (Count III) because Michigan law

does not recognize a cause of action in trespass for intrusions by diffuse particulates that have

become part of the ambient environment. That is the type of intrusion Plaintiffs allege.

Plaintiffs assert that an alleged corporate predecessor of Georgia-Pacific disposed of waste from

paper production at a landfill in Parchment, Michigan. (Compl. ¶¶ 3, 14, 91; see generally id. ¶¶

89-119.) Plaintiffs allege that some of this waste contained PFAS, and that PFAS contained in

the waste was “allowed to leach into the water system.” (Id. ¶¶ 2-3.) Plaintiffs further allege that

“Defendants’ actions resulted in contaminants entering into Plaintiffs’ persons and properties.”

(Id. ¶ 205.) This does not suffice to state a claim for trespass.

       In Adams v. Cleveland-Cliffs Iron Co., 602 N.W.2d 215 (Mich. Ct. App. 1999), the

Michigan Court of Appeals considered whether dust from a mine that migrated from the

defendant’s property onto the plaintiffs’ property was actionable in trespass. The Court of

Appeals held that a plaintiff could not recover in trespass “for indirect, intangible invasions that



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nonetheless interfere[ ] with exclusive possessory interests in the land.” Id. at 220. “Trespass is

an invasion of the plaintiff’s interest in the exclusive possession of his land.” Id. at 219.

“Recovery for trespass to land in Michigan is available only upon proof of an unauthorized direct

or immediate intrusion of a physical, tangible object onto land over which the plaintiff has a right

of exclusive possession.” Id. at 222. Invasions by matter, such as dust particles, which have

become “part of the ambient circumstances of [the] space” are recoverable (if at all) in nuisance,

rather than trespass. Id. at 223.

       Notably, the Court of Appeals expressly rejected cases from other jurisdictions that

permitted recovery in trespass based on the presence of PCBs and for “fluoride compounds in the

form of gases and particles” on plaintiffs’ properties. Id. at 220 (citing Mercer v. Rockwell Int’l

Corp., 24 F. Supp. 2d 735, 743 (W.D. Ky. 1998) and Martin v. Reynolds Metals Co., 342 P.2d

790 (Or. 1959)). The court held such situations are “in reality, examples of the tort of . . .

nuisance or . . . negligence.” Adams, 602 N.W.2d at 220 (citing PROSSER & KEETON, TORTS § 13

(5th ed.)); see also Wiggins v. City of Burton, 805 N.W.2d 517, 533 (Mich. Ct. App. 2011) (per

curiam) (noting the Michigan Court of Appeals’ “desire to preserve the separate identities of

trespass and nuisance.”) (internal quotations and citations omitted).

       The Court in Adams identifies invasions that do not qualify as trespass—“noise,

vibrations, or ambient dust, smoke, soot, or fumes.” Adams, 602 N.W.2d at 222. The Court’s

reasoning applies equally to groundwater contamination, so courts have repeatedly applied

Adams to bar trespass claims alleging groundwater contamination. In Postma v. County of

Ottawa, No. 243602, 2004 WL 1949317 (Mich. Ct. App. Sept. 2, 2004) (unpublished) (per

curiam), for example, the Court analogized groundwater contamination to the dust in Adams,

noting “contaminants in groundwater, even more so than dust that settles on land, simply




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becomes a part of the ambient circumstances of that space and will not support an action in

trespass.”2 Id. at *9 (internal quotations and citations omitted); see also Guertin v. Michigan,

No. 16-cv-12412, 2017 WL 2418007, at *29 (E.D. Mich. June 5, 2017), rev’d in part on other

grounds (holding in a Flint water case alleging trespass based on water contamination that

“although the intrusion of particulate matter may give rise to a claim of nuisance, the tangible

object requirement for trespass is not met by such intrusion”) (internal quotations and citations

omitted); Abnet v. Coca-Cola Co., 786 F. Supp. 2d 1341, 1346 (W.D. Mich. 2011) (Bell, J.)

(“The Court must conclude that Michigan does not recognize claims of trespass where

groundwater contamination is the only alleged injury.”).

       Plaintiffs’ trespass claim here suffers the same defect. Groundwater contamination is not

an “invasion” sufficient to support a trespass claim. The Court should dismiss that claim.

II.    Plaintiffs’ Battery Claim Fails, Because Plaintiffs Do Not Allege That Georgia-
       Pacific “Touched” Them at all, Let Alone Intentionally.

       Battery is an intentional tort that requires “the willful and harmful or offensive touching

of another person which results from an act intended to cause such a contact.” Espinoza v.

Thomas, 472 N.W.2d 16, 21 (Mich. Ct. App. 1991) (citing Tinkler v. Richter, 295 N.W. 201

(Mich. 1940)). Plaintiffs have alleged neither an intentional act of battery nor a harmful or

offensive touching, so their battery claims accordingly fail as a matter of law.




       2
          The Court of Appeals continued in dicta that “even if plaintiff could prove . . . that
groundwater contaminants equate to physical, tangible objects, plaintiff’s claim of trespass is
without merit because this Court has recognized that one does not have ownership or exclusive
possession over water beneath one’s property.” Id. (citing United States Aviex Co. v. Travelers
Ins. Co., 336 N.W.2d 838 (Mich. Ct. App. 1983)).


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       A.      Plaintiffs Fail to Allege That Georgia-Pacific Intended to Commit an Act of
               Battery.

       Battery is an intentional tort that requires a willful act intended to create a harmful or

offensive touching. Negligence or gross negligence are not enough. Sudul v. City of

Hamtramck, 562 N.W.2d 478, 479 (Mich. Ct. App. 1997). “The question of intent and/or

willfulness is an element of assault and battery. The intent element for assault is identical with

that for battery. There is, properly speaking, no such thing as a negligent assault.” Id. at 487

(internal citations omitted).

       Plaintiffs do not allege or describe any act by Georgia-Pacific that was “intended to”

cause the “harmful or offensive touching” of Plaintiffs. Espinosa, 472 N.W.2d at 21.3 Rather,

the Complaint alleges merely that “Defendants” (collectively) “allowed the release and migration

of toxic chemicals into the environment,” and that “[t]he wrongful touching and/or contact

occurred when PFAS invaded the bodies of the Plaintiffs and the Class Members through their

drinking water.” (Compl. ¶¶ 255-256.) At most, these allegations constitute some species of

negligence. They will not support an intentional battery claim under Michigan law. The Court

should dismiss Plaintiffs’ battery counts.




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          Other jurisdictions applying the same intent standard for battery have found that a party
does not act with sufficient intent to touch another person merely by releasing an alleged toxin
into the environment. See, e.g., Neurology Servs. v. Fairfax Med. PWH, LLC, No. 220451, 2005
WL 832160, at *9 (Va. Cir. Ct. Jan. 3, 2005) (dismissing battery claim based on asbestos
exposure because, although defendants were aware asbestos was present at construction site and
“may have sent the asbestos fibers into the air, the Court finds no intent to cause an offensive
touching.”) (internal quotation marks omitted); Corradetti v. Sanitary Landfill, Inc., 912 F. Supp.
2d 156, 161 (D.N.J. 2012) (granting defendant’s motion to dismiss, reasoning that intent required
in an environmental tort case cannot be satisfied by the “discharging of Contaminants into the
environment and failing to remediate such Contaminants.”).


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       B.      Exposure to Generalized Pollution Cannot Satisfy the “Harmful Touching”
               Element of Battery Under Michigan Law.

       A second, independent reason why the Court should dismiss Plaintiffs’ battery claims is

because alleged exposure to pollution is not a “touching” as a matter of law. In a 2017 opinion,

the Michigan Court of Appeals considered whether a plaintiff could premise a battery claim on

allegations that the defendant intentionally exposed plaintiff to diesel fumes, giving the plaintiff

headaches, dizziness, and nausea. Nolen v. Laura, No. 330621, 2017 WL 2704908, at *7 (Mich.

Ct. App. June 22, 2017) (per curiam) appeal denied, 908 N.W.2d 904 (Mich. 2018). Citing the

elements of battery from Espinosa, the court held: “the trial court did not err when it granted

summary disposition of plaintiff’s assault and battery claim ... . The trial court summarily

dismissed the assault and battery claims because it rejected the notion that these facts involved a

‘touching.’” Id.

       The reasoning of the Court of Appeals in Nolen is consistent with its holding in Adams

(discussed above), regarding trespass. Just as fumes or groundwater contamination do not

constitute the physical invasion onto land necessary to support a trespass claim, they likewise do

not constitute a “touching” for purposes of a battery claim. These intentional tort claims are

simply not the correct vehicle to address the allegations made by Plaintiffs. Because allegedly

exposing a person to pollution does not involve an intentional “touching” as required to assert a

battery claim under Michigan law, the Court should dismiss Plaintiffs’ battery claims.

III.   Plaintiffs’ Unjust Enrichment Claim Fails Because Plaintiffs Do Not Allege They
       Conferred Any Benefit on Georgia-Pacific.

       The “unjust enrichment” cause of action allows a court to impose a contract-in-law

between plaintiff and defendant to prevent the defendant from profiting unjustly from a benefit

conferred by the plaintiff. To prevail on such a claim, the plaintiff must establish “‘(1) the

receipt of a benefit by the defendant from the plaintiff and (2) an inequity resulting to the


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plaintiff because of the retention of the benefit by defendant.’” Landstar Express Am. Inc. v.

Nexteer Auto. Corp., 900 N.W.2d 650, 657 (Mich. Ct. App. 2017) (quoting Morris Pumps v.

Centerline Piping, Inc., 273 Mich. App. 187, 195 (2006)). Because granting relief through an

unjust enrichment claim requires a court to impose a contractual relationship that the parties did

not themselves expressly negotiate, courts should approach the task “with some caution.”

Hollowell v. Career Decisions, Inc., 298 N.W.2d 915, 920 (Mich. Ct. App. 1980); see also

Romeo Inv. Ltd. v. Michigan Consol. Gas Co., No. 260320, 2007 WL 1264008, at *8 (Mich. Ct.

App. May 1, 2007).

       Plaintiffs do not allege these elements. Plaintiffs allege that Georgia-Pacific “received

the benefits of disposing of PFAS without incurring the costs associated with conducting such

disposal in a safer and more appropriate manner.” (Compl. ¶ 210.) Plaintiffs then allege that

“[t]he retention of these benefits constitutes unjust enrichment in the amount of all amounts not

expended by failing to provide for the disposal of the PFAS materials in a safer and more

appropriate manner.” (Id. ¶ 211.) But Plaintiffs do not allege that they conferred this benefit on

Georgia-Pacific themselves. Indeed, the Plaintiffs here do not claim to have had any interaction

with Georgia-Pacific at all.

       Because Plaintiffs do not allege that they conferred any benefit on Georgia-Pacific, the

Court should dismiss their unjust enrichment claim. Absent the “receipt of a benefit by

[defendant] from plaintiff,” an unjust enrichment claim cannot succeed. Karaus v. Bank of N.Y.

Mellon, 831 N.W.2d 897, 906 (Mich. Ct. App. 2012); see also, e.g., A & M Supply Co. v.

Microsoft Corp., No. 274164, 2008 WL 540883, at *2 (Mich. Ct. App. Feb. 28, 2008) (affirming

dismissal of unjust enrichment claim where plaintiffs could not show that the defendant received

any direct benefit from them); Smith v. Glenmark Generics, Inc., USA, No. 315898, 2014 WL




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4087968, at *1 (Mich. Ct. App. Aug. 19, 2014) (“In this case, the facts show that defendant did

not receive a direct benefit from plaintiff. Defendant did not sell the contraceptives directly to

plaintiff, and plaintiff admitted that she did not purchase the contraceptives from defendant, but

rather from a pharmacy. Therefore, the trial court did not err by granting summary disposition

for defendant and dismissing plaintiff's claim.”); Storey v. Attends Healthcare Products Inc., No.

15-CV-13577, 2016 WL 3125210, at *12–13 (E.D. Mich. June 3, 2016) (observing that unjust

enrichment only applies under Michigan law where the defendant and plaintiff “had some sort of

direct interaction,” and finding that the Plaintiffs failed to state a claim because they have not

alleged that they directly conferred a benefit on the defendant); Schechner v. Whirlpool Corp.,

237 F. Supp. 3d 601, 618 (E.D. Mich. 2017) (dismissing unjust enrichment claim in a consumer

class action, on the basis that “to state a claim for unjust enrichment, Michigan law requires a

direct benefit or some sort of direct interaction between Plaintiffs and Whirlpool. Plaintiffs allege

neither.”) (internal citations omitted).

        Because Plaintiffs have alleged no interaction whatsoever with Georgia-Pacific, let alone

that they conferred any direct benefit on Georgia-Pacific, the Court should dismiss Count IV of

their Complaint.

IV.     Plaintiffs’ Product Liability Claims Against Georgia-Pacific Fail Because Plaintiffs
        Do Not Allege Harm Caused by any Product Georgia-Pacific Designed or
        Manufactured.

        A.      Plaintiffs Have Not Stated a Design Defect Claim Upon which Relief Can Be
                Granted.

        To establish a prima facie case of product liability under Michigan law, a plaintiff must

show that “the defendant supplied a product that was defective and that the defect caused the

injury.” Auto Club Ins. Ass’n v. Gen. Motors Corp., 552 N.W.2d 523, 527 (Mich. Ct. App.




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1996). “The threshold requirement of any products liability action is identification of the injury-

causing product and its manufacturer.” Abel v. Eli Lilly & Co., 343 N.W.2d 164, 170 (1984).

       Michigan has codified this sine qua non of a products liability claim. “The Michigan

Revised Judicature Act of 1961 includes a provision defining ‘product liability actions’ as those

‘based on a legal or equitable theory of liability brought for ... injury to a person ... caused by or

resulting from the production of a product.’” In re Darvocet, Darvon, & Propoxyphene Products

Liab. Litig., 756 F.3d 917, 946–47 (6th Cir. 2014) (quoting Mich. Comp. Laws § 600.2945(h)).

“Michigan courts require that plaintiffs in product liability actions prove that the defendant

manufactured the injury-causing product.” Id. (citing Abel, 343 N.W.2d at 170).

       Plaintiff’s product liability claims fail against this requirement. Plaintiffs’ Complaint

repeatedly identifies co-defendant 3M—and not Georgia-Pacific—as the manufacturer of the

allegedly defective products. Plaintiffs allege that they were damaged by “harmful chemicals

known as PFAS,” and that “Defendant 3M manufactured these dangerous chemicals.” (Compl.

¶¶ 2, 4.) Plaintiffs allege that “PFAS is a family of chemicals known as per- and polyfluoroalkyl

substances which include Perflourooctaneesulfonic acid (“PFOS”) and perflourooctanic acid

(“PFOA),” and that “3M produced all or substantially all of the PFOS in the United States.” (Id.

¶¶ 19, 29; see also id. ¶ 30, “3M produced a variety of widely-used products with PFOS,

including the well-known Scotchgard and also Scotchban”; id. ¶ 34, “3M created and

manufactured these substances.”)

       In contrast, Plaintiffs lodge no complaint about any product Georgia-Pacific (or James

River) manufactured. They allege that a Georgia-Pacific corporate predecessor manufactured

paper products. (Compl. ¶¶ 14, 89.) But Plaintiffs do not allege that they ever purchased or used

those paper products, much less suffered any injury from them. At most, they assert that a




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Georgia-Pacific predecessor generated waste that contained PFAS when it manufactured paper,

and that this PFAS has since leached into groundwater. (Id. ¶¶ 3, 14, 92, 102, 106.)

        Disposing of industrial waste is not an activity covered by product liability law. “The

underlying rationale of a product liability claim is that the manufacturer has a duty to place into

the stream of commerce products free of defects and reasonably fit for the use intended,

anticipated or reasonably foreseeable. If there is a causal connection between the defect and the

resultant injury or damage, liability attaches.” Gautheir v. Mayo, 258 N.W.2d 748, 749 (Mich.

Ct. App. 1977) (internal citations omitted); see also Ghrist v. Chrysler Corp., 547 N.W.2d 272,

275 (Mich. 1996) (“by putting the product into the stream of commerce, the manufacturer

impliedly promises that the product is safe for its intended and all reasonably foreseeable uses.”).

The product—not the process by which it was manufactured—must cause the injury, and it must

do so after the defendant placed it into the stream of commerce.

        Michigan courts have declined invitations to deviate from this bedrock principle. For

example, in Williams v. Detroit Edison Co., 234 N.W.2d 702 (Mich. Ct. App. 1975), a

decedent’s surviving spouse sued after the defendant’s power line was knocked down and fell on

the decedent, killing him. The Court of Appeals concluded that these facts would not support a

product-liability claim, because there was no “transfer” of the product (electricity) out of the

power company’s control. Id. at 707. “The ill-fated contact with defendant’s wire and its

subsequent descent onto plaintiff’s decedent did not involve placing the electricity ‘into

the stream of commerce,’ and was not type of transfer which triggers the application of the

[product liability] doctrines at issue.” Id.

        The same principles apply here. The focus of product liability law is the product that a

manufacturer places into the stream of commerce—not the byproduct waste that it places in a




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landfill. Plaintiffs do not allege that Georgia-Pacific paper products injured them. The Court

should dismiss Count VII against Georgia-Pacific.

       B.      Plaintiffs Have Not Stated a Failure to Warn Claim Upon Which Relief Can
               Be Granted.

       Plaintiffs’ product liability/failure to warn claim (Count VII) fails for the same reasons as

its design defect claim. Under Michigan law, “manufacturers have a duty to warn purchasers or

users of dangers associated with the intended use or reasonably foreseeable misuse of

their products.” Glittenberg v. Doughboy Recreational Indus., 491 N.W.2d 208, 211 (Mich.

1992). But “[t]he law does not impose upon manufacturers a duty to warn of the hazards of

using products manufactured by someone else.” Brown v. Drake-Willock Int’l Ltd., 530 N.W.2d

510, 515 (Mich Ct. App. 1995).

       Plaintiffs do not allege that they purchased, used or were harmed by any product

manufactured by Georgia-Pacific or its alleged predecessor. The product that Georgia-Pacific’s

alleged corporate predecessor produced is not alleged to have injured the Plaintiffs, and Georgia-

Pacific is not alleged to be the manufacturer of the product that is alleged to have injured the

Plaintiffs. Again, at most, Plaintiffs assert that Georgia-Pacific’s alleged corporate predecessor

disposed of industrial waste from papermaking operations and that this waste contained PFAS.

(Compl. ¶¶ 3, 14, 92, 102, 106.) Such waste disposal does not support a failure to warn claim.

       Michigan “duty to warn” law simply does not apply to injuries arising from general

environmental contamination that occurred as a byproduct of manufacturing. Michigan “duty to

warn” law requires that manufacturers market “[u]navoidably unsafe products ... with adequate

warnings of their dangers.” Dunn v. Lederle Labs., 328 N.W.2d 576, 579 (Mich. Ct. App. 1982).

“Warnings generally must be calculated to reach the ultimate consumer.” Id. (emphasis added).




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But Plaintiffs do not allege that they were ever a consumer of any paper product Georgia-Pacific

made.

         Plaintiffs try to mask the defects in their product liability claims by making all of their

allegations against “Defendants” collectively. (Compl. ¶¶ 236-253.) But Plaintiffs cannot

satisfy federal pleading standards by simply lumping the Defendants together. See In re

Darvocet, 756 F.3d at 931-32 (finding failure to warn complaint was deficient under Iqbal and

Twombly where the plaintiffs failed to identify which manufacturer failed to implement

warnings, or whose “failure to warn” caused the injuries at issue in the complaint). Plaintiffs

have not stated a product liability/failure to warn claim upon which relief can be granted, so the

Court should dismiss Count VIII of their Complaint.

V.      The Court Also Should Dismiss Several of Plaintiffs’ Requests for Relief, as They
        Seek Remedies Not Available Under Michigan Law.

        The Court should dismiss several of Plaintiffs’ requests for relief, because they seek

remedies not available under Michigan law. In particular, Plaintiff asks that the Court grant

them “Medical monitoring” (Compl. at 36, ¶ f “Relief Requested”) and “Reasonable attorneys’

fees and litigation expenses” (id. ¶ j). Because neither of these requested remedies are available

under applicable Michigan law, they fail to state claims upon which relief can be granted and

should be dismissed. In addition, Plaintiffs ask for “[a]n order declaring the conduct of

Defendants unconstitutional.” (Id. ¶ b.) But because Plaintiffs have alleged no constitutional

violation of any kind, and because Defendants are private business entities and not state actors,

that relief is likewise unavailable.

        A.      Michigan Does Not Recognize Medical Monitoring as a Remedy.

        Plaintiffs do not allege that they have been diagnosed with any health condition or

suffered any present injury or illness of any kind. Rather, Plaintiffs allege merely that “people



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have been placed at risk for developing serious and fatal diseases.” (Compl. ¶ 2.) Similarly, in a

portion of their Complaint devoted to purportedly establishing the “Necessity of Medical

Monitoring” (id. ¶¶ 163-173), Plaintiffs allege merely that “[p]ersons such as Plaintiffs and the

Class . . . have or will have a significantly increased risk of contracting one or more diseases.”

(Id. ¶ 164.) They further allege that their exposure to pollution makes it “reasonably necessary

for them to undergo periodic diagnostic medical examinations.” (Id. ¶ 165.)

       The Michigan Supreme Court held unambiguously that Michigan does not recognize a

claim for medical monitoring expenses. Henry v. Dow Chem. Co., 701 N.W.2d 684, 686 (Mich.

2005). “[W]e decline plaintiffs’ invitation to alter the common law of negligence liability to

encompass a cause of action for medical monitoring.” Id. This prohibition applies regardless of

whether the plaintiff is attempting to assert medical monitoring as a cause of action or as a form

of damages. “[I]f the alleged [medical monitoring] damages cited by plaintiffs were incurred in

anticipation of possible future injury rather than in response to present injuries, these pecuniary

losses are not derived from an injury that is cognizable under Michigan tort law.” Id. at 689.

The Court concluded that “[b]ecause plaintiffs have not alleged a present physical injury, but

rather, ‘bare’ damages, the medical expenses plaintiffs claim to have suffered (and will suffer in

the future) are not compensable.” Id. at 691. Henry accordingly precludes medical monitoring

in the absence of a present physical injury. Id; see also Doe v. Henry Ford Health System, 865

N.W.2d 915, 921 (Mich. Ct. App. 2014) (“damages ‘incurred in anticipation of possible future

injury rather than in response to present injuries’ are not cognizable under Michigan law”)

(following Henry); Chapman v. Alawi, No. 331750, 2018 WL 472211, at *18 (Mich. Ct. App.

Jan. 18, 2018) (per curiam) (“[E]xpenses incurred due to the fear of a possible future injury are

not compensable damages in the absence of a present injury.”)




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        Plaintiffs’ request for a medical monitoring remedy is precluded by Michigan law and

accordingly should be dismissed.

        B.      Plaintiffs Have Not Identified an Exception to the “American Rule.”

        “Michigan follows the ‘American rule’ with respect to the payment of attorney fees” and

accordingly “attorney fees generally are not recoverable from the losing party as costs in the

absence of an exception set forth in a statute or court rule expressly authorizing such an award.”

Haliw v. City of Sterling Heights, 691 N.W.2d 753, 756 (Mich. 2005). And “any exception to

the prevailing doctrine that attorney fees are not recoverable must be narrowly construed.” Scott

v. Hurd-Corrigan Moving & Storage Co. Inc., 302 N.W.2d 867 (Mich. Ct. App. 1981).

Plaintiffs do not allege that any such exception applies here, and none does. Because no statute

or court rule expressly authorizes an award of attorney fees in this case, the Court should dismiss

Plaintiffs’ request for attorney fees.

        C.      Defendants Are Not State Actors, and Plaintiffs Have Not Identified Any
                Provision of the Constitution That Defendants Have Violated.

        Plaintiffs request “[a]n order declaring the conduct of Defendants unconstitutional.”

Nowhere in their Complaint, however, do they allege violation of any provision of the

Constitution. Nor do they allege that any Defendant is a state actor. See Nat'l Collegiate

Athletic Ass'n v. Tarkanian, 488 U.S. 179 (1988). To the contrary, they acknowledge that both

Defendants are private business entities. (Compl. ¶ 9, alleging that Georgia-Pacific “is a limited

liability company organized in Delaware with its principal place of business located in Atlanta,

Georgia”; id. ¶ 8, alleging that 3M “is a Delaware corporation with its principal place of business

located in St. Paul, Minnesota.”) Accordingly, Plaintiffs’ request for “[a]n order declaring the

conduct of Defendants unconstitutional” should be dismissed.




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                                         CONCLUSION

        Georgia-Pacific respectfully requests that, for the reasons described more fully above,

this Court grant its Motion to Dismiss Under Rule 12(b)(6), and dismiss Counts III, IV, VII,

VIII, and IX of Plaintiffs’ Complaint as well as paragraphs b, f, and j of their Relief Requested.



Dated: January 18, 2019                              /s/ George P. Sibley, III

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